                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                    CIVIL ACTION NO. 3:21-CV-00558-MOC-DSC


 WINGS OF GROVETOWN INC.,                       )
                                                )
                   Plaintiff,                   )
                                                )
 v.                                             )                   ORDER
                                                )
 AETIUS FRANCHISING LLC,                        )
                                                )
                  Defendant.                    )



       THIS MATTER is before the Court on the “Motion for Admission Pro Hac Vice and

Affidavit [for Samuel J. Adams]” (document #7) filed October 27, 2021. For the reasons set forth

therein, the Motion will be granted.


       The Clerk is directed to send copies of this Order to counsel for the parties and to the

Honorable Max O. Cogburn, Jr.


       SO ORDERED.                      Signed: October 28, 2021




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